          Case: 20-1594 Document:
Case 4:20-cv-11246-MFL-MJH ECF No.33-1   Filed: 12/09/2020
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                                                     Filed 12/09/20                               (1 of 2)

                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT
                               100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt            POTTER STEWART U.S. COURTHOUSE                Tel. (513) 564-7000
       Clerk                      CINCINNATI, OHIO 45202-3988              www.ca6.uscourts.gov




                                                Filed: December 09, 2020
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                 Re: Case No. 20-1594, SawariMedia, LLC, et al v. Gretchen Whitmer, et al
                     Originating Case No. : 4:20-cv-11246

Dear Counsel and Appellees,

   The Court issued the enclosed Order today in this case.

                                                Sincerely yours,

                                                s/Ryan E. Orme
                                                Case Manager
                                                Direct Dial No. 513-564-7079

cc: Mr. David J. Weaver

Enclosure

No mandate to issue
          Case: 20-1594 Document:
Case 4:20-cv-11246-MFL-MJH ECF No.33-2   Filed: 12/09/2020
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                                        Case No. 20-1594

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                            ORDER

SAWARIMEDIA, LLC; DEBORAH PARKER; JUDY KELLOGG; PAUL ELY

              Plaintiffs - Appellees

v.

GRETCHEN WHITMER, Governor of Michigan; JOCELYN BENSON, Secretary of State of
Michigan; JONATHAN BRATER, Director of the Michigan Bureau of Elections

              Defendants - Appellants



BEFORE: NORRIS, CLAY and LARSEN, Circuit Judges



     Upon consideration of the defendants’ motion to dismiss and vacate, the court GRANTS the

motion and DISMISSES this appeal. The court further VACATES the July 2, 2020, order

denying the motion for a stay pending appeal.


                                                ENTERED BY ORDER OF THE COURT

                                                Deborah S. Hunt, Clerk


Issued: December 09, 2020
                                                ___________________________________
